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                                    #: 5817




                   Thomas-Jensen
                    Affirmation



                      Exhibit # 119
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                                            #: 5818



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



   STATE OF NEW YORK; et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

   DONALD TRUMP, in his official capacity as
   President of the United States; et al.,

                  Defendants.



                                DECLARATION OF TRICIA COLLINS

                 I, Tricia Collins, declare as follows:

         1.      I am a resident of the State of Wisconsin. I am over the age of 18 and have

  personal knowledge of all the facts stated herein, except to those matters stated upon information

  and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

  testify competently to the matters set forth below.

         2.      I am currently employed by the Wisconsin Department of Public Instruction

  (DPI) as the Assistant State Superintendent for the Division for Finance and Management.

         3.      The DPI is responsible for supporting and advancing public education and public

  libraries in Wisconsin, so that all school-age learners can access high-quality educational

  programs meeting their needs including nutritional needs, and all citizens have access to

  comprehensive public library resources and services. The DPI’s Division for Finance and

  Management provides centralized and managerial support services to the DPI to ensure effective




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  and cost-efficient operation of the agency, including administering federal aids, grants and

  nutrition programs.

         4.      As Assistant State Superintendent for the Division for Finance and Management, I

  oversee all funding received by the DPI, including all federal funding.

         5.      Attached as Exhibit A is a true and correct copy of totals and relevant columns

  from the DPI’s Schedule of Expenditures of Federal Awards (SEFA) for Fiscal Year 2024. The

  complete SEFA for Fiscal Year 2024, containing all columns, has been audited by the Wisconsin

  Legislative Audit Bureau as part of their annual audit of all state agencies. Exhibit A shows all

  expenditures by the DPI in Fiscal Year 2024 that were reimbursed by federal funds, totaling over

  $2 billion. Fiscal Year 2024 included some COVID-19 federal awards that will not recur in

  Fiscal Year 2025, but expenditures from year to year are otherwise generally stable and the non-

  COVID-19 amounts shown Exhibit A are a reasonable estimate of the sources, types and dollar

  amounts of federal funding the DPI anticipates receiving during Fiscal Year 2025.

         6.      The scope of the federal funding received by the DPI, as shown in Exhibit A, is

  extensive. Among other things, federal funding helps feed children and community members

  through the school and community nutrition programs; supports special education, charter

  schools and career and technical education; and provides financial support to high-poverty

  schools. Exhibit A’s column titled “Official Federal Program Title” shows the breadth of the

  programs for which federal funds are used by the DPI to advance the DPI’s mission of advancing

  transformative and sustainable education that develop learners, schools, libraries, and

  communities in Wisconsin.

         7.      The DPI’s budget includes a significant amount of federal funding allocated under

  the federal grants listed in Exhibit A. The DPI made plans and allocated funding for staffing



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  based on the anticipated receipt of federal funding promised in the various grant awards.

  Approximately 53.17% of DPI’s currently authorized FTE positions are funded by federal funds

  and 58.48% of DPI’s current workforce is funded in part or in full by federal funds.

         8.      Any pause in our federal funding would result in interruption of funds for these

  programs and would result in the loss of services. In addition, pauses in federal funding would

  likely result in layoffs both at the DPI, local schools, and other organizations supporting children

  learning.

         9.      The uncertainty of not getting reimbursed from federal grants that have already

  been authorized has led to DPI staff being unsure whether they should come to work and whether

  school districts will be able to continue provide breakfasts and lunches to kids at schools across

  the state tomorrow and be reimbursed for it through the school nutrition program.

         10.     The DPI incurs costs as it implements federal awards and later receives the

  federal funds as reimbursement for expenditures that have already been made. If the DPI is not

  reimbursed, either the State of Wisconsin will have to cover the expenses from state funds, or the

  DPI will have to stop providing the services.

         11.     Attached as Exhibit B are examples of transmissions received by DPI that

  describe or effect a pause or impediments for federal disbursements.

         12.     If the federal funding is again paused, blocked, denied or delayed suddenly,

  children and their education and communities will be hurt.

        I declare under penalty of perjury that the foregoing is true and correct.

                 Executed on February 6, 2025, Madison, Wisconsin.




                                                  _____________________________________
                                                        Tricia Collins
                                                    3
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                    EXHIBIT A
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                                    #: 5822
                                                                           Case 1:25-cv-00039-JJM-PAS                                                                               Document 68-119   Filed 02/07/25   Page 7 of 27 PageID
                                                                                                                                                                                           #: 5823




                                                                                       SCO Compilation




FINAL AWARD TITLE
Local Food for Schools Cooperative Agreement Program
Child Nutrition-Technology Innovation Grant
School Breakfast Program
National School Lunch Program
COVID-19 - National School Lunch Program
Special Milk Program for Children
COVID-19 - Child Nutrition Discretionary Grants Limited Availability
Child and Adult Care Food Program
COVID-19 - Farm to School State Formula Grant
Student Support and Academic Enrichment Program
Summer Food Service Program for Children
COVID-19 - Child and Adult Care Food Program
State Administrative Expenses for Child Nutrition
Grants to States
Substance Abuse and Mental Health Services Projects of Regional and National Significance
Career and Technical Education -- National Programs
Team Nutrition Grants
Farm to School Grant Program
Child Nutrition Discretionary Grants Limited Availability
Fresh Fruit and Vegetable Program
STOP School Violence
Affordable Connectivity Outreach Grant Program
Cooperative Agreements to Promote Adolescent Health through School-Based HIV/STD Prevention and School-Based Surveillance
Improving Student Health and Academic Achievement through Nutrition, Physical Activity and the Management of Chronic Conditions in Schools
Title I Grants to Local Educational Agencies
Migrant Education State Grant Program
Title I State Agency Program for Neglected and Delinquent Children and Youth
COVID-19 - Special Education Grants to States
TRIO Talent Search
TRIO Upward Bound
Career and Technical Education -- Basic Grants to States (from WTCS)
Migrant Education Coordination Program
Special Education Preschool Grants
School Safely National Activities
COVID-19 - School Breakfast Program
Education for Homeless Children and Youth
Charter Schools
The Healthy Brain Initiative: Technical Assistance to Implement Public Health Actions related to Cognitive Health, Cognitive Impairment, and Caregiving at the State and Local Levels (from DHS)
Twenty-First Century Community Learning Centers
Special Education Technical Assistance and Dissemination to Improve Services and Results for Children with Disabilities
Gaining Early Awareness and Readiness for Undergraduate Programs
Rural Education
English Language Acquisition State Grants
Supporting Effective Instruction State Grants (formerly Improving Teacher Quality State Grants)
Grants for State Assessments and Related Activities
Statewide Longitudinal Data Systems
Substance Abuse and Mental Health Services Projects of Regional and National Significance (from Mental Health America of WI)
COVID-19 - Education Stabilization Fund
Student Support and Academic Enrichment Program
COVID-19 - Education Stabilization Fund (from Gov)
Teenage Pregnancy Prevention Program (from DHS)
Special Education Grants to States
COVID-19 - CORONAVIRUS STATE AND LOCAL FISCAL RECOVERY FUNDS (from DOA)
COVID-19 - Education Stabilization Fund (from Gov)
Maternal and Child Health Federal Consolidated Programs (from DHS)
COVID-19 - Pandemic EBT Administrative Costs (from DHS)
COVID-19 - CORONAVIRUS STATE AND LOCAL FISCAL RECOVERY FUNDS (from DHS)
State Administrative Matching Grants for the Supplemental Nutrition Assistance Program (from DHS)
Every Student Succeeds Act/Preschool Development Grants (from DCF)
Child Care and Development Block Grant (from DCF)
Head Start (from DCF)
Block Grants for Community Mental Health Services (from DHS)
COVID-19 - Education Stabilization Fund
COVID-19 - Education Stabilization Fund
COVID-19 - Education Stabilization Fund
Maternal and Child Health Services Block Grant to the States (from DHS)
COVID-19 - Education Stabilization Fund (from Gov)
AmeriCorps State and National 94.006 (from DHS)
COVID-19 - Special Education Preschool Grants
School Safely National Activities
Summer Food Service Program for Children
National School Lunch Program
Emergency Food Assistance Program (Food Commodities)
Substance Abuse and Mental Health Services Projects of Regional and National Significance (from Mental Health America of WI, INC)
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                    EXHIBIT B
Case 1:25-cv-00039-JJM-PAS   Document 68-119   Filed 02/07/25   Page 9 of 27 PageID
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January 29, 2025



Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government foreign assistance funds.

To implement Executive Orders entitled Ending Radical and Wasteful Government DEI Programs and
Preferencing and Initial Rescissions of Harmful Executive Orders and Action, you must immediately
terminate, to the maximum extent, all programs, personnel, activities, or contracts promoting “diversity,
equity, and inclusion” (DEI) at every level and activity, regardless of your location or the citizenship of
employees or contractors, that are supported with funds from this award. Any vestige, remnant, or re-
named piece of any DEI programs funded by the U.S. government under this award are immediately,
completely, and permanently terminated.

No additional costs must be incurred that would be used to support any DEI programs, personnel, or
activities.

If you are a global recipient and have previously received this notification regarding DEI activities, please
follow those instructions accordingly.
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January 29, 2025



Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement Executive Orders entitled Ending Radical and Wasteful Government DEI Programs and
Preferencing and Initial Rescissions of Harmful Executive Orders and Action, you must immediately
terminate, to the maximum extent, all programs, personnel, activities, or contracts promoting “diversity,
equity, and inclusion” (DEI) at every level and activity, regardless of your location or the citizenship of
employees or contractors, that are supported with funds from this award. Any vestige, remnant, or re-
named piece of any DEI programs funded by the U.S. government under this award are immediately,
completely, and permanently terminated.

No additional costs must be incurred that would be used to support any DEI programs, personnel, or
activities.

If you are a global recipient and have previously received this notification regarding DEI activities, please
follow those instructions accordingly.
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Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement the Executive Order entitled Defending Women From Gender Ideology Extremism And
Restoring Biological Truth To The Federal Government (Defending Women From Gender Ideology
Extremism And Restoring Biological Truth To The Federal Government – The White House), and in
accordance with Office of Personnel Management’s Initial Guidance (Memorandum to Heads and Acting
Heads of Departments and Agencies: Initial Guidance Regarding President Trump’s Executive Order
Defending Women), you must immediately terminate, to the maximum extent, all programs, personnel,
activities, or contracts promoting or inculcating gender ideology at every level and activity, regardless of
your location or the citizenship of employees or contractors, that are supported with funds from this
award. Any vestige, remnant, or re-named piece of any gender ideology programs funded by the U.S.
government under this award are immediately, completely, and permanently terminated.

No additional costs must be incurred that would be used to support any gender ideology programs,
personnel, or activities.

Any questions should be directed to PRISM@cdc.gov
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  case is ongoing.
  If you have any questions, please contact your respective agency
  representative.
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                                               PageID #: 5833

From:              chantel.hill@ed.gov
To:                                 DPI
Date:              Tuesday, January 28, 2025 11:13:39 AM




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you recognize the sender and know the content is safe.


Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. Any scheduled meetings are postponed
until further notice. We are awaiting guidance from leadership on the implications of this, and assure you that we
will let you know about next steps as soon as we know more.

Thank you for your patience and regards,

Chantel Hill
Federal Project Officer
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                              PageID #: 5834
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                                              PageID #: 5835

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S184F180015-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:49:02 AM




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you recognize the sender and know the content is safe.


Award: S184F180015 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
Case 1:25-cv-00039-JJM-PAS                   Document 68-119             Filed 02/07/25          Page 20 of 27
                                              PageID #: 5836

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S184H200002-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:52:44 AM




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you recognize the sender and know the content is safe.


Award: S184H200002 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
Case 1:25-cv-00039-JJM-PAS                   Document 68-119             Filed 02/07/25          Page 21 of 27
                                              PageID #: 5837

From:              amy.banks@ed.gov
To:                               DPI
Subject:           S184H200002-SBMH/MHSP Program Update, 1/28/2025
Date:              Tuesday, January 28, 2025 11:51:00 AM




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you recognize the sender and know the content is safe.


Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,

Amy Banks
SBMH Program Lead
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                                              PageID #: 5838

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S184H240082-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:47:34 AM




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Award: S184H240082 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
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                                              PageID #: 5839

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S424A220051-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:49:01 AM




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you recognize the sender and know the content is safe.


Award: S424A220051 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
Case 1:25-cv-00039-JJM-PAS                   Document 68-119             Filed 02/07/25          Page 24 of 27
                                              PageID #: 5840

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S424A230051-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:47:35 AM




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Award: S424A230051 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
Case 1:25-cv-00039-JJM-PAS                   Document 68-119             Filed 02/07/25          Page 25 of 27
                                              PageID #: 5841

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S424A240051-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:51:21 AM




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you recognize the sender and know the content is safe.


Award: S424A240051 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
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                                              PageID #: 5842

From:              corinne.full@ed.gov
To:                                 DPI
Subject:           S424H240004-SBMH/MHSP Program Update 1/28/2025
Date:              Tuesday, January 28, 2025 10:54:08 AM




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you recognize the sender and know the content is safe.


Award: S424H240004 - WISCONSIN DEPARTMENT OF PUBLIC INSTRUCTION

Dear Grantees,

As you may have heard, a recent Executive Order has paused Federal grants. We are awaiting guidance from
leadership on the implications of this, and assure you that we will let you know about next steps as soon as we know
more.

Thank you for your patience and regards,
Case 1:25-cv-00039-JJM-PAS   Document 68-119   Filed 02/07/25   Page 27 of 27
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